4:04-cr-03049-WKU-DLP             Doc # 70       Filed: 09/26/05      Page 1 of 6 - Page ID # 263


                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 4:04cr3049
                                                        USM Number 19105-047

MIGUEL OMAR FIGUEROA CARDONA
                Defendant
                                                        Korey L. Reiman
                                                        Defendant’s Attorney
___________________________________
                   AMENDED JUDGMENT IN A CRIMINAL CASE
            ON MOTION OF THE GOVERNMENT AFTER INITIAL SENTENCING
                      (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: November 29, 2004
(Or Date of Last Amended Judgment)

Reason for Amendment:
      Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to count(s) II and III of the Indictment on 9/7/04.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                             Date Offense                Count
          Title, Section & Nature of Offense                  Concluded                Number(s)


 21:841(a)(1) and 841(b)(1) and DISTRIBUTE AND              May 4, 2004                     II
 POSSESS WITH INTENT TO DISTRIBUTE
 METHAMPHETAMINE

 21:853 CRIMINAL FORFEITURES                                May 4, 2004                     III
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Final order of forfeiture filed on 1/14/05 as to Count III of the indictment.

[X] Government’s motion (filing 67) for reduction of sentence pursuant to Rule 35(b) is granted.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.
                                                                Date of Imposition of Sentence:
                                                                            September 23, 2005

                                                                          s/ Richard G. Kopf
                                                                          United States District Judge

                                                                           September 26, 2005
4:04-cr-03049-WKU-DLP            Doc # 70     Filed: 09/26/05     Page 2 of 6 - Page ID # 264


Defendant: MIGUEL OMAR FIGUEROA CARDONA                                                   Page 2 of 6
Case Number: 4:04cr3049


                                          IMPRISONMENT

The defendant’s sentence of imprisonment is reduced from the original sentence to a term of
twenty-four (24) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.     That the defendant be incarcerated in a federal facility as close to the state of Nebraska
       as possible so he may visit with his family



                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
4:04-cr-03049-WKU-DLP            Doc # 70      Filed: 09/26/05      Page 3 of 6 - Page ID # 265


Defendant: MIGUEL OMAR FIGUEROA CARDONA                                                      Page 3 of 6
Case Number: 4:04cr3049


                                    SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three
(3) years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                       STANDARD CONDITIONS OF SUPERVISION

1.     The defendant shall not leave the judicial district without the permission of the court or
       probation officer;
2.     The defendant shall report to the probation officer and shall submit a truthful and complete
       written report within the first five days of each month;
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer;
4.     The defendant shall support his or her dependents and meet other family responsibilities;
5.     The defendant shall work regularly at a lawful occupation, unless excused by the probation
       officer for schooling, training, or other acceptable reasons;
6.     The defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment;
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
       use, distribute, or administer any controlled substance or any paraphernalia related to any
       controlled substances, except as prescribed by a physician;
8.     The defendant shall not frequent places where controlled substances are illegally sold,
       used, distributed, or administered;
9.     The defendant shall not associate with any persons engaged in criminal activity and shall
       not associate with any person convicted of a felony, unless granted permission to do so by
       the probation officer;
10.    The defendant shall permit a probation officer to visit him or her at any time at home or
       elsewhere and shall permit confiscation of any contraband observed in plain view of the
       probation officer;
11.    The defendant shall notify the probation officer within seventy-two hours of being arrested
       or questioned by a law enforcement officer;
12.    The defendant shall not enter into any agreement to act as an informer or a special agent
       of a law enforcement agency without the permission of the court;
4:04-cr-03049-WKU-DLP             Doc # 70        Filed: 09/26/05       Page 4 of 6 - Page ID # 266


Defendant: MIGUEL OMAR FIGUEROA CARDONA                                                             Page 4 of 6
Case Number: 4:04cr3049


13.    As directed by the probation officer, the defendant shall notify third parties of risks that may
       be occasioned by the defendant’s criminal record or personal history or characteristics and
       shall permit the probation officer to make such notifications and to confirm the defendant’s
       compliance with such notification requirement.



                            SPECIAL CONDITIONS OF SUPERVISION


1.     The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
       night, with or without a warrant, at the request of the probation officer to determine the presence of
       controlled substances, firearms or any other contraband. Any such items found may be seized by
       the probation officer. This condition may be invoked with or without the cooperation of law
       enforcement officers.

2.     The defendant shall comply with all rules and regulations of the Bureau of Immigration Customs
       Enforcement and, if deported, shall not reenter the United States or reside therein without the
       express, written permission of the Secretary of the United States Department of Homeland Security.

3.     The defendant shall provide the probation officer with access to any requested financial information.

4.     The requirement of 18 U.S.C. § 3583 (d) regarding drug testing within fifteen (15) days of release on
       supervised release and to at least two (2) periodic drug tests thereafter, is suspended until further
       order of the Court because it appears the defendant will be deported.

5.     The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
       Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
       Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement, and,
       thereafter, as directed by the probation officer.
4:04-cr-03049-WKU-DLP            Doc # 70     Filed: 09/26/05    Page 5 of 6 - Page ID # 267


Defendant: MIGUEL OMAR FIGUEROA CARDONA                                                  Page 5 of 6
Case Number: 4:04cr3049


                             CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                      Total Fine                 Total Restitution

     $100.00 (Balance of
           $75.00 remains)



                                              FINE

       No fine imposed.



                                          RESTITUTION

       No restitution was ordered.
4:04-cr-03049-WKU-DLP               Doc # 70        Filed: 09/26/05    Page 6 of 6 - Page ID # 268


Defendant: MIGUEL OMAR FIGUEROA CARDONA                                                          Page 6 of 6
Case Number: 4:04cr3049


                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal
monetary penalties shall be due as follows:

      The defendant shall pay the special assessment in the amount of $100, a balance of $75.00
remains.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
P.O. Box 83468, Lincoln, NE 68501.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and court costs.        T he def endant shall f o r f e i t t he
defendant’s interest in the following property to the United States:

                                  $934.00 in U. S. currency




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
